Case 14-50331-gs Doc 79 Entered 10/07/14 15:16:08 Page 1 of 52

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ALAN R. SMITH, ESQ.

Nevada Bar No. 1449

HOLLY E. ESTES, ESQ.

Nevada Bar No. 11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 October 7, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

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—oo0000—
In Re: Case No. BK-N-14-50331-BTB
AT EMERALD, LLC, Chapter 7

FIRST AND FINAL APPLICATION BY
ATTORNEY FOR DEBTOR TO
APPROVE COMPENSATION

Debtor, (ALAN R. SMITH)

Hearing Date: December 17, 2014
Hearing Time: 10:00 a.m.

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/
Alan R. Smith, Esq., of the Law Offices of Alan R. Smith (hereinafter “Applicant’’),

 

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submits this first and final application for compensation for professional services rendered

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and reimbursement of costs incurred pursuant to 11 U.S.C. § 330(a) (the “Application”).

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This fee application is based on the entire case file, the points and authorities contained

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herein, and any oral argument that the Court may entertain.

No
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1. Applicant was the attorney for Debtor herein, and makes this first and final

No
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application for an allowance of compensation for professional services rendered, and for

to
a

reimbursement for actual and necessary costs and expenses incurred by him in the

administration in the estate of AT EMERALD, LLC. In March, 2014, Debtor retained the

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Law Offices of Alan R. Smith to provide bankruptcy advice and a Petition for Relief Under

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Chapter 11 was filed on March 4, 2014 [DE 1]. The employment of the Law Offices of Alan

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Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579 H:\AT Emerald\Fees\Fee App ARS 100714-dig.wpd

 

 
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Law Offices of
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505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

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R. Smith, as counsel for Debtor was approved by the Court by order entered on March 27,
2014 [DE 19]. On May 12, 2014, the Court entered its Order Approving Motion For Joint
Administration [DE 32], jointly administering the above-referenced case with the case of
Anthony Thomas and Wendi Thomas, Case No. BK-N-14-50333-BTB. The withdrawal of
employment of the Law Offices of Alan R. Smith, Esq., as counsel for Debtor was approved
by the Court by Order entered on August 26, 2014 [DE 187]. On August 29, 2014, the Court
entered its Order Granting Motion To Convert Case From Chapter 11 To Chapter 7 [DE 57].

2. All services for which compensation is requested by Applicant were performed
for and on behalf of the Debtor and not on behalf of any committee, creditor, or other person,
and were necessary to the administration of the Debtor’s estate. The services performed are

summarized for the Court’s convenience as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

APPLICANT: ALAN R. SMITH, ESQ.,oF THE LAW OFFICES OF ALAN R. SMITH
TERMS OF EMPLOYMENT:
ALAN R. SMITH, ESQ. ATTORNEY .... 00. cece eee tee tee ene e eens $500/HOUR (ARS
HOLLY E. ESTES, ESQ. ATTORNEY 1.0... cc ec e ee eee eee nes $300/HOUR (HEE
DEBRA L. GOSS, PARALEGAL ..... 0.0. eee eee eee eee rete eens $150/HOUR (DLG
ROANNA M. BONALDI, LEGAL ASSISTANT .....0 0 ccc cee cence eees $130/HOUR (RMB
FIRST AND FINAL APPLICATION LEGAL $40,883.00
FEES
EXPENSES $1,518.03
TOTAL $42,401.03
PERIOD COVERED: MARCH 3, 2014TO SEPTEMBER 30, 2014
FEES & EXPENSES PREVIOUSLY REQUESTED: -0-
FEES & EXPENSES PREVIOUSLY AWARDED: -0-
CASE STATUS: CHAPTER 11 VOLUNTARY PETITION FILED ON MARCH 4, 2014. CASE
CONVERTED TO A CHAPTER 7 ON AUGUST 29, 2014.
PROSPECT FOR PAYMENT OF FEE/COST AWARD: DEBTOR’S ESTATE SHOULD HAVE
SUFFICIENT FUNDS AVAILABLE TO PAY FEE/COST AWARD(S) FROM SALE OF EMERALD.
TASKS - HOURS - FEES - EXPENSES SUMMARY FOR APPLICATION
TASK NO. WORK CATEGORY HOURS FEES
B110 PRE-BANKRUPTCY / CASE ADMINISTRATION 60.10 |} $ 16,188.00
B120 ASSET ANALYSIS & RECOVERY 0.00 | $ 0.00

 

 

 

 

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Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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B130 | ASSET DISPOSITION 62.90 | $ 21,010.00
B140 RELIEF FROM STAY PROCEEDINGS 0.00 | $ 0.00
B150 =| MEETING OF CREDITORS 0.00 | $ 0.00
B160 FEE/EMPLOYMENT APPLICATIONS 7.701}$ 1,257.00
B170 FEE/EMPLOYMENT OBJECTIONS 0.00 | $ 0.00
B210 | BUSINESS OPERATIONS 1.60 | $ 208.00
B220 EMPLOYEE BENEFITS/PENSIONS 0.00 | $ 0.00
B230 FINANCING / CASH COLLATERAL 0.00 | $ 0.00
B235 LEASES/ASSUMPTIONS/REJECTIONS 0.00 | $ 0.00
B310 CLAIMS ADMINISTRATION & OBJECTIONS 7.4013 2,220.00
B320 | PLAN AND DISCLOSURE STATEMENT 0.00 | $ 0.00
B350 POST-CONFIRMATION 0.00 | $ 0.00
TOTALS 139.70 | $ 40,883.00
ITEMIZED EXPENSES
FILING FEES $ 1,216.60
PHOTOCOPIES S 277.75
POSTAGE $ 7.68
FACSIMILE $ 0.00
PACER $ 0.00
AT&T CONFERENCE CALLS/LONG DISTANCE $ 0.00
MESSENGER SERVICES $ 0.00
ELECTRONIC RESEARCH LEXIS NEXIS $ 0.00
OTHER/RENO CARSON MESSENGER SERVICE $ 16.00
TOTAL EXPENSES $ 1,518.03
SUPPLEMENTAL LEGAL FEES $ 0.00
TOTAL FEES AND EXPENSES INCURRED THIS APPLICATION $ 42,401.03
PREVIOUSLY AWARDED FEES AND COSTS $ 0.00
LESS PAYMENTS ( REQUEST APPROVAL TO $ 5,000.00
APPLY)
SUBTOTAL FEE REQUEST AND COST $ 37,401.03
REIMBURSEMENT
LESS COURTESY DISCOUNT/CREDIT $ 0.00

 

 

 

 

 

 

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| TOTAL DUE $ 42,401.03
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3. No previous orders have been entered by the Court approving compensation
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to Applicant.
4
4, Applicant seeks compensation for the period March 3, 2014, through
5
September 30, 2014, for professional services rendered in the amount of $40,883.00 and
6
reimbursement of necessary costs and expenses incurred in the amount of $1,518.03 (for a
7
total of $42,401.03, less the pre-petition retainer of $5,000.00). Applicant seeks approval to
8 . ae
apply the monies held in Applicant’s trust account and paid by the Debtors pre-petition of
9 . .
$5,000.00, leaving a balance due of $37,401.03. These services are more fully set forth in
1 .
0 the monthly billing statements (Exhibit “A”), billing task summary (Exhibit “B”), and cost
11 .
itemization (Exhibit “C”) attached hereto and incorporated herein.
12 ; ;
5. The services provided by Applicant have been segregated into the following
13 .
categories and are summarized as follows:
4 (A)  Pre-Bankruptcy / Case Administration (B100/B110)
I? Applicant provided services in initiating Debtors’ Chapter 11 case and
'6 strategizing with Debtors, communicating with the Office of the United States Trustee, and
M7 advising Debtors in connection with preparation of Debtors’ Petition, Statements and
18 Schedules, amendments thereto, IDI documents and compliance with the U.S. Trustee’s
19 guidelines. Applicant also provided services with regard to the emerald, motions to convert,
20 dismiss, appoint a trustee, and compel. Applicant also provided services in withdrawing
21
from the case.
22 The time spent in connection with case administration is as follows:
23 Hours Fees
24 Alan R. Smith, Esq. 3.10 $1,550.00
25 Holly E. Estes, Esq. 41.40 12,420.00
Debra L. Goss, Paralegal 9.50 1,425.00
26 Roanna M. Bonaldi, Legal Assistant 6.10 793.00
60.10 $16,188.00
27
28
Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579 H:\AT Emerald\Fees\Fee App ARS 100714-dig.wpd ™ 4 *

 

 
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Reno, Nevada 89501
(775) 786-4579

 

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(B) Asset Disposition (B130)
Applicant provided services with regard to selling the asset of the Debtor, an
emerald.
The time spent in connection with asset disposition is as follows:
Hours Fees
Alan R. Smith, Esq. 14.00 $7,000.00
Holly E. Estes, Esq. 44.90 13,470.00
Debra L. Goss, Paralegal 1.00 150.00
Roanna M. Bonaldi, Legal Assistant 3.00 390.00
62.90 $21,010.00
(C) Fee and Employment Applications (B160)
Applicant’s law firm has prepared an application to employ himself, as
Attorney for the Debtor-in-Possession, in addition to preparing this application for

compensation.
The time spent in preparing the employment application (through September
30, 2014) is as follows:

 

Hours Fees
Holly E. Estes, Esq. 0.80 $240.00
Debra L. Goss, Paralegal 6.00 900.00
Roanna M. Bonaldi, Legal Assistant 0.90 117.00

70 $1,257.00

(D) Business Operations (B210)

Applicant assisted the Debtor with matters concerning its monthly operating reports
and related issues. The time spent in connection with business operations is as follows:

Hours Fees

Roanna M. Bonaldi, Legal Assistant 1.60 $208.00

(E) Claims Administration (B310)

Applicant provided legal services to the Debtor in advising the Debtor
concerning the claim of John Beach. The time spent is as follows:
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] Hours Fees |
2 Holly E. Estes, Esq. 7.40 $2,220.00
3 | TOTAL FEES - All (139.70 hrs): $39,713.00 (Blended Rate: $292.65/hour) '
4 A complete and detailed description of the legal services performed by Applicant are
5 || set forth in the itemized billing statements attached hereto (Exhibit “A”).
6 6. Prior to filing of the petition (March 4, 2014), the Debtor paid to the Law
7 || Offices of Alan R. Smith a retainer of $5,000.00 for commencement of the Chapter 11 case.
8 || The payment is being held in Applicant’s trust account pending this Court’s order approving
9 || the requested attorneys’ fees and authorizing Applicant to apply the payment(s) to the

10 |] outstanding balance. Applicant has not entered into any agreement with any other person or

11 || entity for the sharing of compensation received or to be received in connection with the

12 || services rendered in this case.

13 7. The rates of compensation of attorneys and supporting personnel agreed to by

14 || the Debtor are as follows: Alan R. Smith, Esq. (“ARS”) - $500.00 per hour; Holly E. Estes,

15 || Esq., (“SHEE”) - $300 per hour; Debra L. Goss, Paralegal (“DLG”) - $150.00 per hour and

16 || Roanna Bonaldi, Legal Assistant (“RMB”) - $130.00 per hour. Applicant believes that these

17 || rates are within the normal hourly rates charged by other professionals and paraprofessionals

18 || for the type of services involved in this case, and believes that the compensation sought

19 || herein is reasonable.

20 8. Alan R. Smith, Esq. was admitted to the Nevada Bar in 1979.

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ALAN R. SMITH
505 Ridge Street
ROTTS) 786.4879 mst H:\AT Emerald\Fees\Fee App ARS 100714-dlg.wod -6-

 

 
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ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

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WHEREFORE, Applicant requests that the Court enter its order approving and
awarding this first and final request for compensation for professional services rendered in
the amount of $40,883.00 and reimbursement of necessary costs and expenses incurred in the
amount of $1,518.03 (for a total of $42,401.03, less the pre-petition retainer of $5,000.00).
Applicant seeks approval to apply the monies held in Applicant’s trust account and paid by
the Debtor pre-petition $5,000.00, leaving a balance due of $37,401.03.

DATED this 7" day of October, 2014.

LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtor

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Exhibit “A”
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ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579
FAX (775) 786-3066

AT Emerald, LLC September 30, 2014
7725 Peavine Peak Ct
Reno, NV 89523

File #: 1446-01
Attention: Inv #: 7634

RE:

DATE DESCRIPTION HOURS AMOUNT TIMEKEEPER

Mar-03-14 [Case Administration] Prepare Chapter 11 1.10 550.00 ARS
Petition.

[Case Administration] Prepare Chapter 11 1.50 225.00 DLG
bankruptcy petition for attorney review; Make

attorney revisions and prepare email to client

advising of missing information.

Mar-04-14 [Case Administration] Conference with client; 0.70 350.00 ARS
Complete preparation of Chapter 11 Petition.

[Case Administration] Make corrections to BK 3.50 525.00 DLG
Petition pursuant to client's email; Meeting

with client; Make additional revisons; Finalize,

sign and file; Send Notice of BK to attorneys.

Mar-05-14 [Case Administration] Correspondences to 2.00 300.00 DLG
various attorneys and email out with copy of
BK Petition; Correspondence to client re: 341
Meeting; Prepare Motion To Redact Voluntary
Petition and Order for attorney review;
Finalize and file with Court.

Mar-10-14 [Case Administration] Prepare Amendment 0.50 75.00 DLG
Cover Sheet on Voluntary Petition to add EIN
Number; File with Court.

Mar-11-14 [Case Administration] Begin drafting of notice 0.50 65.00 RMB
of entry of order granting emergency ex parte
Invoice #:

Mar-13-14

Mar-14-14

Mar-18-14

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motion to redact voluntary petition pursuant to
rule 2016(b), finalize notice.

[Fee/Employment Applicants] Prepare Ex
Parte Application To Employ Attorney For
Debtor with supporting Order; Prepare Fee
Agreement.

[Case Administration] Meeting this ARS to
discuss case, and received correspondence;
ARS request follow up.

[Asset Disposition] Review email and phone
message from Sid Lambersky re potential
purchase of emerald by Overstock.com; Mtg
with ARS to discuss.

[Asset Disposition] Draft email to Tony and
Wendi Thomas requesting availablity for
confernce call with overstock.

[Asset Disposition] Draft email to Sid
Lambersky following up on his emails and
phone message re potential sale of emerald;
review reply email re same; reply re same.

T/c with Tim Lucas, represents John Beach, re
coming buy to inspect gem.; [Claims
Administration]

[Claims Administration] Draft email to Tony
and Wendi Thomas re setting up time for John
Beach to inspect gem; request budget for
motion for authority to pay living expenses.

[Fee/Employment Applicants] Review
employment application of ARS; review
proposed order; Review fee agreement; Mark
changes to all; Give to DLG with instruction to
make changes; Mtg with DLG to discuss

OUST signature block on application and
order.

[Fee/Employment Applicants] Review second
draft application to employ ARS from DLG
with HEE changes implmented; Make further
changes and corrections to application; Review
proposed order; ok to file; review proposed fee

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Mar-20-14

Mar-21-14

Mar-24-14

Mar-25-14

Mar-27-14

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agreement with HEE changes implemented;
ok.

[Fee/Employment Applicants] Make revisions
to Employment Application, Declaration and
Fee Agreement per Holly E. Estes, Esq.

[Asset Disposition] Draft email to Tony
Thomas re: sale of emerald and court approval.

[Asset Disposition] Review emails from Hilary
Frasier at overstock.com re telephone
conference and discussion on emerald sale.

{Case Administration] Review email from Tim
Lucas re Beach inspection of emerald.

[Case Administration] Review file and put
together all documents previously sent to client
for signature; Compose email to client re:
documents for signing and IDI documents
needed to give U.S. Trustee.

[Case Administration] Mtg with ARS to
discuss email and requests from Lukas to visit
-the vault and emerald.

[Case Administration] Draft email to Tony
Thomas re Lukas request to visit vault and
proposed email to Lukas re same.

[Case Administration].Review email from
Tony Thomas re documents sent to John
Beach; Review attached sales packet and
appraisal report of emerald.

[Case Administration] Draft email to Tim
Lukas re Beach's inspection of emerald and
trip to Florida re same.

{Case Administration] Prepare Motion For
Joint Administration; Prepare Notice of
Hearing; File with Court; Calendar all
deadlines.

[Case Administration] Begin drafting
certificate of service for notice of hearing on
motion for joint administration.

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Mar-31-14

Apr-01-14

Apr-02-14

Apr-03-14

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[Fee/Employment Applicants] Begin drafting
certificate of service for ex parte application to
employ attorney for debtors.

[Case Administration] T/c with Tony Thomas
re sale of emerald and employment of
professionals.

[Case Administration] T/c with Joe Went re
trip to Florida and potential stipulation
regarding adequate protection for emerald.

[Case Administration] Review OUST request
to insure emerald; Draft email to Tony and
Wendi Thomas re same.

[Case Administration] Draft email to Joe Went
and Tim Lukas re insurace for the emerald.

T/c with Tim Lukas and Joe Went re adequate
protection and trip to florida.; [Claims
Administration]

[Claims Administration] Review email from
Joe Went re stip and order for adequate
protection for John Beach; Review attached
stipulation; Save stipulation in word; Mark
proposed changes in redline; draft email to Joe
Went requesting copy of note, secureity
agreement, UCC 1 documents, and calculation
of prepetition claim amount; mark further
changes to draft stipulated agreement; Draft
email to Joe Went and Tim Lukas re stip for
adequate protection; attach red line draft re
same for review and comment.

[Claims Administration] Draft detailed email
to Tony and Wendi Thomas re stip for
adequate protection for CR John Beach; attach
proposed stip for review; outline conversations
with Beach counsel regarding trip to Florida
for inspection; Discuss potential payment;
Discuss OUST motion to dismiss and
insurance issues.

[Fee/Employment Applicants] Begin drafting
notice of entry of order approving ex parte
application to employ attorney for debtor.

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Invoice #:

Apr-04-14 Review email from Tim Lukas re date certain 0.20 60.00 HEE
for travel to Florida to inspect emerald.;
[Claims Administration]

[Claims Administration] Draft reply email to 0.20 60.00 HEE
Tim Lukas requesting information as to what

compensation Mr. Beach is willing to provide

and if I may have a more reasonable deadline

to respond.

Review email from Tim Lukas granting 0.20 60.00 HEE
extension to respond to date certain for travel

to Florida and explaining complensation and

expenses Beach is willing to front.; [Claims

Administration]

[Claims Administration] Draft email to Tim 0.20 60.00 HEE
Lukas requesting number of days for travel to
Florida; Review reply re same.

[Claims Administration] Draft email to Tony 0.20 60.00 HEE
and Wendi Thomas outlining Beach request for

date certain to travel to Florida; accomodations

Beach is willing to provide; trip length etc.

[Claims Administration] Draft email to Tim 0.20 60.00 HEE
Lukas re FYI sent request to clinet and status
on review of APO.

Apr-08-14 [Case Administration] Draft email to Tony and 0.20 60.00 HEE
Wendi Thomas re when Tony can make trip to
Florida with Beach.

[Case Administration] T/c with Tony Thomas 0.30 90.00 HEE
re entry of judgement and trip to Florida with
Beach.

[Claims Administration] Draft email to Joe 0.20 60.00 HEE
Went and Tim Lukas re trip to Florida with

Beach to inspect emerald; request information

on appraiser; recommend trip dates; and

provide information regarding dup trip.

Apr-10-14 [Claims Administration] T/c with Tony 0.20 60.00 HEE
Thomas re Tony's conversations with John
Beach; discuss trip to Florida.

Apr-11-14 [Claims Administration] Review email from 0.20 60.00 HEE
Joe Went re trip to Florida and client
Invoice #:

Apr-17-14

Apr-22-14

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discussions re same; new AP agreement; Draft
reply re same.

[Claims Administration] Begin to review stip
and order for adequate protection with John
Beach; Request information on filed UCC-1
from Joe Went; Research avoidance of security
interest when UCC1 filed within one month of
petition for bankruptcy.

[Case Administration] Review email from
Wendi Thomas re AT Emerald draft MOR;
Review attached draft; mark redline changes;
mtg with RMB re changes to be made; cause
RMB to discuss changes with clients.

[Claims Administration] Review email from
Tim Lukas re adequate protection stipulation
and threat to file motion if stip to resolved.

[Claims Administration] Review email from
Joe Went re stipulation for adequate protection
and trip to florida to view and apparaise
emerald.

[Claims Administration] Mtg with ARS to
discuss potential non secured creditor Beach
and stip for adequate protection.

[Claims Administration] Review most recent
proposed stip and order for adequate
protection from Joe Went; Print; mark
changes; Create redline; mark all changes and
imput notes for Joe's review; review prior
notes on changes to stip to be sure all are
incorporated.

[Claims Administration] Draft email to Joe
Went and Tim Lukas re stip for adequate
protection ; attach redline with proposed
changes and comments for review and
approval.

[Claims Administration] T/c with Joe Went re
proposed chnages to stip and order for
adequate protection; discuss changes; approval
of same; discuss trip to florida and date for
trip; discuss issues re same.

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Apr-24-14

Apr-30-14

May-06-14

May-07-14

May-12-14

[Claims Administration] Draft email to Joe
Went re follow up on revised proposed stip
and order for adequate protection.

[Business Operations] Review March 2014
monthly operating report, redact confidential
information.

[Case Administration] Review email from Joe
Went re stipulation and order for adequate
protection; print attached revised stipulation.

[Claims Administration] Review most recent
draft stipulation and order with Beach Trust;
save draft; mark redline proposed changes to
same.

[Claims Administration] Draft email to Joe
Went and Tim Lukas copy clients re attached
redline proposed changes to most recent draft
of stip and order for adequate protection.

[Case Administration] Review OUST motion
to convert case to chapter 7 for not having
insurance.

[Case Administration] Review OUST Motion
to Designate Case As Small Business Case.

[Case Administration] Conference with Holly
E. Estes, Esq. re: hearing on Motion For Joint
Administration; Prepare Order Approving
Motion For Joint Administration for attorney
review; Finalize and lodge with Court.

[Case Administration] Draft email to Tony and
Wendi Thomas requestion information on trip
to Florida, immenant sale of the emerald and
information on Motion to convert case to
chapter 7.

[Case Administration] T/c with Tony Thomas
re Trip to Florida; discuss Joseph Went's
requested stipulation for adequate protection
and confirmation of trip and drop dead date for
trip to florida; Discuss potential sale of
emerald and OUST's motion to convert case to
one under chapter 7.

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eptember 30, 2014

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May-13-14

May-30-14

Jun-04-14

Jun-10-14

[Claims Administration] Review email from
Joe Went re stipulation for adequate protection
and trip to Florida 5/25; Draft email to Tony
and Wendi Thomas requesting information on
trip to Florida and confirming 5.25 deadline.

[Claims Administration] Review email from
Joe Went re most recent form of draft adequate
protection stipulation and trip to Florida on

May 25; Review attached proposed stipulation.

[Claims Administration] Draft email to Joe
Went re his draft proposed stipulation for
adequate protection and trip to Florida on May
25; Discuss prior agreement of langauge for
trip to Florida in stipulation; outline requested
changed langauge that would be agreeable in
stipulated agreement.

[Case Administration] Draft notice of entry of
order approving motion for joint
administration.

[Business Operations] Review April 2014
monthly operating report, redact confidential
information and finalize report.

[Case Administration] Review OUST motion
to convert case to chapter 7; draft email to
Tony and Wendi Thomas re t/c with Joesph
Went and need for trip to Florida with John
Beach; discuss stip to adequate protection and
John Beach's position as to insurance on the
emerald.

[Claims Administration] T/c with Joseph Went
re trip to Florida and stip for adequate
protection.

[Asset Disposition] Review Purchase
Agreement and comments re: same (.5); Work
on motion to approve sale (.7).

[Asset Disposition] Review email from Tony
Thomas re draft purchase agreement and
request for court approval.

[Asset Disposition] T/c with ARS re t/c with

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Jun-12-14

Jun-13-14

Jun-16-14

Jun-18-14

Jun-19-14

tony thomas on sale of emerald; briefly discuss
draft purchase agreement and sale of emerald.

[Asset Disposition] Revise purchase and sale
agreement (1.2); Prepare motion to approve
sale (1.1); Conference with client (.7).

[Asset Disposition] Work on purchase and sale
agreement (1.1); Work on motion to approve
sale (.3); Conference with client.

[Asset Disposition] Finish preparation of
purchase and sale agreement (1.3); Finish
preparation of motion to approve sale (2.3).

[Asset Disposition] Revise motion to approve
sale and motion for order (2.8); T/Cs Tony
Thomas re: same (.6).

[Asset Disposition] T/c with Tony Thomas
requesting word version of draft emerald
purchase agreement; discuss sale and timing of
obtaining signed agreement; discuss state court
action and automatic stay.

[Asset Disposition] T/c with ARS re AT
Emerald sale; discuss t/c with Tony Thomas re
draft purchase agreement; cause DLG to send
Tony draft purchase agreement.

[Asset Disposition] Mtg with DLG re: Tony
Thomas sent email with photos of revised PSA
for sale of emerald; discuss possible resizing
of PSA photos; Request DLG do a redline
compare so that I may review changes made to
PSA.

[Asset Disposition] T/c with Tony Thomas re
revised PSA; discuss changes.

[Asset Disposition] T/c with ARS to discuss
revised PSA and changes.

{Asset Disposition] Draft email to Tony
Thomas requesting signing of modified PSA
agreement signed by purchaser; attach same
for his convenience.

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Jun-23-14

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[Asset Disposition] Mtg with DLG re motion
to sell emerald and OST docs; request DLG to

send email to counsel for attorney information
sheet on MOST.

[Asset Disposition] T/c with Nick Strozza re
shortened time on sale of emerald; draft
confirming email regarding his consent to
motion to sell being heard on shortened time.

[Asset Disposition] Review email from Tim
Lucas requesting furhter information on sale of
emerald before he responds to request for
consent on motion for order shortening time;
draft reply re same; Review reply email noting
consent.

[Asset Disposition] T/c with Tony Thomas re
motion to sell and getting on file; most and
when it will be heard.

[Asset Disposition] Review draft motion to
sell Thomas Emerald; mark changes to be
made.

[Asset Disposition] Review draft MOST on
motion to sell emerald, OST, AIS, and
Declaration of ARS in support of MOST; mark
changes to be made to all; give to DLG to
implement changes.

[Asset Disposition] Review revised draft sale
motion; Mark further changes; review claims
registry and filed POC from Sarasota Valut
alleging secured claim in amount of $1200
include in motion to sell.

[Asset Disposition] T/c with Tony Thomas re
sale of emerald and sale date; purchaser to
come to the states for hearing.

[Asset Disposition] Draft follow up email to
Wayne Silver re consent to OST? Review reply
email requesting redacted PSA.

[Asset Disposition] Review signed PSA;
redact; PDF; draft email to Wayne A. Silver
with attached redacted PSA for his review.

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[Asset Disposition] Review reply email from
Wayne Silver re consent to OST, but will
object to motion to sell unless certain issues
resolved; Request for conference;

[Asset Disposition] Review office calendar;
Draft reply email to Wayne Silver regarding
avialablity for conference to discuss Mr.
Silver's issues with Motion to Sell.

[Asset Disposition] Review draft motion to
sell Thomas Emerald; Mark further changes to
be made after conversation with Tony Thomas
this morning; Give to RMB to make changes;
request RMB to draft up draft declaration of
Tony Thomas for my review.

[Asset Disposition] Review revised draft OST;
MOST; AIS and declaration of ARS in
support; mark further changes to be made; give
to RMB to make changes.

[Asset Disposition] Review Local Rule 9018
regarding filing motions to file under seal; T/c
with Roxanne Maples discuss filing motion to
sell and PSA; discuss same; Request judge's
preference regarding filng PSA now or after
order on motion to seal.

[Asset Disposition] Draft email to Tony
Thomas regarding authority of David Charles
Clarke to act on behalf of purchasing
corporation.

[Asset Disposition] T/c with Roxanne Maples
re court's preference on filing motion under
seal and motion to sell; attaching redacted psa;
separate motion to file under seal.

[Asset Disposition] Draft motion to file under
seal; Review revised draft of motion to sell
assets free and clear of liens; revise further;
prepare ex parte motion to file under seal;
redacted PSA and unredacted PSA for in
camera review; Motion to sell; MOST; AIS;
Dec of ARS in support of MOST; OST to file;
give to RMB to file all. Review draft
declaration of Tony Thomas in support of

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Jun-24-14

motion to sell; Revise declaration of Tony
Thomas; finalize; draft email to Tony Thomas
requesting review, sign and return of
declaration in support of motion to sell; T/c
with Tony Thomas informing of email with
Declaration attached; discuss declaration;
request sign and return asap.

[Asset Disposition] Mtg with Tony Thomas to 1.00 300.00
discuss signing of declaration in support of
motion to sell; cause signing of dec.

[Asset Disposition] Review filed copies of 1.00 300.00
motion to sell; MOST; OST; Dec of ARS in
support of MOST; AIS; Motion to file under
seal and declaration of Anthony Thomas in
support of motion to sell filed in AT Emerald
case no 14-50331; T/c with PLT re same;
discuss filing in lead case 14-50333; File
motion to sell; MOST; OST; Dec of ARS in
support of MOST; AIS; Motion to file under
seal and declaration of Anthony Thomas in
support of motion to sell in lead case no
14-50333

[Asset Disposition] Make revisions to Motion 0.60 78.00
To Sell Assets Free And Clear of Liens and

Motion to File PSA Under Seal, Ex Parte

Motion For Order Shortening Time,

Declaration of Alan R. Smith, Attorney

Information Sheet and Order Shortening Time.

[Asset Disposition] Draft Declaration of 0.60 78.00
Anthony Thomas In Support of Motion to Sell

Assets Free and Clear of Liens and Motion to

File PSA Under Seal, submit for attorney

review.

[Asset Disposition] T/c with Linda Bowser 0.20 60.00
requesting new OST on MOST for motion to

sell Emerald; request filed in Thomas (lead)

case; discuss withdrawal of docs filed in AT

Emerald case; discuss lodging order on Ex

Parte motion to filed PSA under seal.

{Asset Disposition] Revise OST on MOST on 0.30 90.00
motion to sell emerald as requested by Linda
Bowser; Lodge revised OST.

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[Asset Disposition] Draft order granting ex
parte motion to file PSA under seal; lodge
order.

[Asset Disposition] Draft emails to Linda
Bowser re lodged new orders as requested and
request for instruction on filing orders or
notices of withdrawal in AT Emerald case.

[Asset Disposition] Review order granting
motion to file under seal; review OST on
MOST on motion to sell emerald.

[Asset Disposition] Draft email to Tony
Thomas re hearing scheduled on motion for
sale.

{Asset Disposition] Draft email to ARS re
purchaser's presence at sale hearing; t/c with
ARS re purchaser's authority and presence at
sale hearing.

[Asset Disposition] Draft courtesy email to
Amy Tirre, Wayne Silver, and Tim Lukas re
OST on motion to sell and order granted on
motion to file under seal.

[Asset Disposition] Draft email to Tony
Thomas requesting that he confirm purchaser's
authorized representative will be able to attend
court hearing on sale of emerald.

[Asset Disposition] Organize case emails re
sale.

[Asset Disposition] Call Tony Thomas re OST
on motion to sell entered and hearing date and
time; request presence of purchaser
representative at sale hearing L/m re same.

[Asset Disposition] Draft notice of entry of
order shortening time for notice and hearing on
motion to sell assets free and clear of liens.

[Asset Disposition] Draft notice of entry of
order granting ex parte motion to file purchase
and sale agreement under seal.

[Asset Disposition] Draft certificate of service

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for motion to sell, motion for order shortening
time, declaration of Alan R. Smith in support
thereof, attorney information sheet, motion to
file PSA under seal and declaration of Anthony
Thomas.

[Asset Disposition] Draft certificate of service
for notice of entry of order shortening time for
notice and hearing on motion to sell assets free
and clear of liens.

[Asset Disposition] Strategize sale issues with
Holly Estes, Esq. (.2); T/Cs with Wells Fargo
re: wiring instructions (.2).

[Case Administration] Review Notice of
Subpeona and NOE on Order Mot 2004
examination of PMK Sarasota vault; Draft
email to ARS re same (requesting deposition
and view and sample emerald).

{Asset Disposition] T/c with Wayne Silver
regarding potential objection to sale of
emerald; discuss potential resolution.

[Asset Disposition] T/c with Tony Thomas re
WSJ and sale; Discuss potential settlement
with Kenmark to resolve opposition to sale
motion; discuss wire transfer after sale.

[Asset Disposition] Mtg with ARS re ability to
accept wire transfer; call bank re same.

[Asset Disposition] T/c with Tony Thomas
requesting redaction of purchaser's name from
court documents.

[Asset Disposition] Research request to seal
documents already on file with the court.

[Asset Disposition] Mtg with ARS re asset sale
and client requests to seal; discuss sale hearing
and keeping out the press; discuss sale
progress and orders entered.

[Asset Disposition] Review email from
inforuptcy regarding marketing and publicising
sale of emerald on their website;

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[Asset Disposition] Mtg with DLG; cause her 0.30 90.00 HEE
to investigate how to unsubscribe to inforuptcy

and remove asset sale for their public website;

Review email from DLG to inforuptcy re

unsubscribe; draft email to inforuptcy

requesting removal of sale of emerald asset

from their website and instructing that we are

not seeking overbids on this asset.

[Asset Disposition] Review email from Wayne 0.30 90.00 HEE
Silver regarding proposed settlement to avoid

opposition to sale motion; Review email from

Tim Lukas re same; draft email to Tony

Thomas requesting consent to settlement

terms.

[Asset Disposition] T/c with Linda Duffy re 0.20 60.00 HEE
requesting removing filed pleadings from the
record and filing renewed redacted documents.

[Asset Disposition] Outline notes of questions 0.20 60.00 HEE
to ask Tony Thomas; Call Tony Thomas to

confirm that he is agreeable to Wayen Silver's

settlment offer with regard to Kenmark claim;

Draft email to Tony Thomas requesting

information on purcahser representative and

avilablity for hearing and to inspect emerald;

request approval of settlement offer on

Kenmark claim; request timing for approval of

petition amendment.

[Asset Disposition] Review docket entries 0.50 150.00 HEE
with regard to sale of emerald that disclose

name of purchaser; mark notes on which

documents to seal and which to file a notice of

withdrawal on; Review Thomas docket to

determine which documents to request seal (

those disclosing name of purchaser.)

[Asset Disposition] Draft follow up email to 0.20 60.00 HEE
Tony Thomas requesting if he has had a chance

to review email on approval of Wayne Silver

offer to settle and if he has spoken to purchaser

regarding representative availablity to attend

sale hearing; L/m.

[Asset Disposition] Draft reply email to Wayne 0.20 60.00 HEE
Silver regarding his proposed settlement offer;
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Jun-27-14

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provide efforts made to contact client today;
issues re same and will follow up tomorrow.

[Asset Disposition] Conference with Holly E. 0.50
Estes, Esq. re: email received from Inforuptcy

on bidders on Emerald; Prepare email to

Inforuptcy requesting they unsubscribe us from

their notifications.

[Case Administration] Review email from 0.20
Anthony Thomas requesting information on

John Beach's 2004 exam PMK Sarasota Valut

and information on amount of set aside for

Kenmark.

[Case Administration] Review past emails sent 0.60
to Tony Thomas (courtesy copies); Forward
email to Tony Thomas originally sent to him
on June 23, 2014 (with ex parte motion for
2004 exam valut attached); Forward email to
Tony Thomas originally sent to him on June
25, 2014 (with order on ex parte motion for
2004 exam of PMK at vault attached); Draft
detailed responsive email to Tony Thomas
regarding follow up on prior unanswered
emails on availabilty of purcahser
represenatiative for sale hearing; request for
courtesy copies of motion for PMK vault
examination; Sealing of purchase and sale
agreement prior understandings regarding the
same (Forward to ARS for review prior to
sending to clients); Review ARS comments;
revise draft email to Tony Thomas; Send.

[Asset Disposition] Review emails from 0.20
Wayne Silver re motion to sell and requested

response on settlement offer; draft reply re

same and request for settelment agreement.

[Asset Disposition] Review email from Tim 0.20
Lukas re set aside for Beach and potential

objection to sale motion; draft reply email

regarding set aside.

[Asset Disposition] Redact motion to sale to 2.70
remove purchaser's identity; redact ex parte

motion to file PSA under seal; Redact

declaration of Anthony Thomas in support of

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motion to sell Emerald; PDF; Draft email to
Tony Thomas requesting sign and return
declaration asap; cause SAE to call client re
new declarations to sign; please sign and
return asap; Review PSA; Redact Purchasers
name from PSA; Draft Dec Tony Thomas in
support ex parte motion seal and replace
docket entries 83, 87, 88; Draft Dec Tony
Thomas in support ex parte motion seal and
replace docket entries 40, 44, 45; draft ex parte
motion to seal and replace 83, 87, 88; draft ex
parte motion to seal and replace docket entries
40,44,45; prepare exhibits; draft orders on ex
parte motions

[Asset Disposition] Review email from Wayne
Silver re follow up on settlement offer; review
email from Tony Thomas re same; draft reply
email to Silver re Thomas' offer; Review
response from Silver re his client doesn't
agree; draft response re same.

[Asset Disposition] Review emails and motion
and redacted documents (.4); Strategize with
Holly Estes, Esq. (.3)

{Case Administration] Review emails from
Wendi Thomas re requested petition
amendment information review information
provided.

[Case Administration] Review limited
objection to motion to sell assets free and clear
of liens filed by Kenmark;Review filed POC
from Kenmark; Draft email to Wayne Silver
requesting entered judgement.

[Case Administration] review email from
Wayne Silver re no judgement entered;

[Asset Disposition] Review emails from Tony
Thomas re requested changes to declaration in
support of further redaction of sale documents
to exclude purchaser identity. Send
Attachments to JL to print for my review.

[Asset Disposition] Review email from Tony
Thomas re buyer will not be present at sale

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hearing; When buyer will view emerald etc.
Thomas comments on Opposition to Beach ex
parte motion for 2004 examination of PMK at
Sarasota Vault.

[Asset Disposition] Review revised PSA sent
by Tony Thomas; Review revised declarations
of Tony Thomas; Review originally sent
declarations; Mtg with ARS to discuss the
same.

[Asset Disposition] Draft detailed reply email
to Anthony Thomas re signing declarations to
remove and replace pleadings on the docket
with the purcahser's name attached; outline
prior discussions re same.

[Asset Disposition] Review reply email from
Tony Thomas re coming by to sign
declarations. Draft reply requesting time
frame and pre hearing conference to discuss
purchaser.

[Asset Disposition] Review emails from Tony
Thomas re he will attend sale hearing and

come by office to sign declarations; draft reply
emails re same.

{Asset Disposition] Review pleadings; review
prior emails; print all declarations required for
Tony Thomas to sign for motion to file under
seal and replace documents on docket.

[Asset Disposition] Review claims register;
review file POC of Kenmark Ventures; review
attachmnts ; Review attachments to limited
opposition; petitions; draft reply to limited
opposition to motion to sell; file.

[Asset Disposition] Meeting with Tony
Thomas; discuss sale hearing; discuss signing

of declarations in support of ex parte motion to -

seal PSA exclude Purchaser's identity.

[Asset Disposition] Review ex parte motions
to seal purchaser's identity and replace docket
entires; review declarations of Tony Thomas in
support; Review and prepare exhibits; Review

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orders on ex parte motions; organize; Mtg with

RMB re filing all; discuss what to file and
how; give RMB all docs to file.

[Case Administration] Draft email to Linda
Browser re ex parte motion to seal and replace
docket pleadings.

[Asset Disposition] T/c with Tracy McKinsey
re orders on ex parte motions to seal and
replace; Tracy request changes to orders;
discuss same; Revise orders for ex parte
motions; Mtg with RMB re preparing exhibits
as instructed by the court; Review email from
RMB with attached proposed exhibits; review
attachments; draft reply emails re issues with
Exhibit B (Thomas) and (AT) and issues with
exhibits C for Thomas and AT; request
changes.

[Asset Disposition] Review revised
attachments to orders on ex parte motions to

seal and replace; lodge orders and attachments.

[Asset Disposition] Prepare for hearing on
motion to sell; review PSA; review motion to
sell; review limited objection to motion to sell
filed by Kenmark; Review reply to limited
objection; review new proofs of claim filed by
Kenmark in AT case and Beach in AT case;
Outline hearing notes.

[Asset Disposition] Review emails from Tony
Thomas re purchaser update; Review email
from Tony Thomas requesting information on
whether we opposed Kenmark Limited
objection; draft reply email with reply to
limited objection attached; Review reply from
Tony Thomas; Draft email to Tony regarding
meeting at court house for hearing on motion
to sell; where courtroom located.

[Asset Disposition] Attend hearing on motion
to sell assets free and clear of liens.

[Case Administration] Draft certificate of
service for motion to file under seal docket

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entries 40, 44, and 45, and declaration of
Anthony Thomas.

[Case Administration] Draft certificate of
service for motion to file under seal docket
entries 83, 87, and 88, and declaration of
Anthony Thomas.

[Asset Disposition] Mtg with DLG request that
DLG draft order on motion to sell; give DLG
my notes from hearing and discuss who
appeared;

[Asset Disposition] Review DLG draft order
on motion to sell; make changes to order;

{Asset Disposition] Draft email to Wayne
Silver requesting approval of draft order on
motion to sell; attach PDF and word version
of proposed order.

[Asset Disposition] Prepare Order Approving
Motion To Sell for attorney review.

[Case Administration] T/C Tim Lukas, Esq. re:
examination of emerald; Email client re:
same; Follow up.

[Case Administration] Draft notice of entry of
order granting ex parte motion to seal and
replace dkt. entries 40, 44, and 45.

[Case Administration] Draft notice of entry of
order granting ex parte motion to seal and
replace dkt. entries 83, 87, and 88.

[Case Administration] T/C Jim Liebert at
Sarasota Vault; Email Jim Liebert (.4); Follow
up on sale order (.1); Conference with Randy
Fruzza at Wells Fargo Bank (.2)

[Case Administration] T/C client (N/C);
Discuss tax issues with Holly E. Estes, Esq.

[Case Administration] Review email from
Wayne Silver re tax consequence. Draft reply
re same.

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[Asset Disposition] Organize case emails on 0.20 60.00 HEE
sale of emerald.

[Asset Disposition] Draft follow up email to 0.20 60.00 HEE
Wayne Silver regarding motion to sell
proposed order.

[Asset Disposition] T/c with Jim Leburge at 0.30 90.00 HEE
Sarasota Vault re inspection of emerald; Call
Tony Thomas for follow up on same L/M.

[Asset Disposition] Review email from Wayne 0.20 60.00 HEE
Silver re approval of order on sale of emerald
and request for further information.

[Asset Disposition] Draft reply email to Wayne 0.20 60.00 HEE
Silver in response to his request for further

information on sale of emerald; note I will

mark him as agree on my order, request

response asap if I misunderstood his message.

[Asset Disposition] Call Tim Nelson CPA to 0.20 60.00 HEE
inquire as to tax consequence to estate from

sale; L/m.

[Asset Disposition] T/c with Tony Thomas re 0.20 60.00 HEE

sale of emerald, purchaser's inspection of
emerald and further due diligence; expected
sale closing date.

[Asset Disposition] Discuss tax consequese 0.20 60.00 HEE
from sale of Emerald with ARS.

[Asset Disposition] Follow up phone call with 0.20 60.00 HEE
Tim Nelson re tax consequence and state of
residency; california and nevada consequences.

[Asset Disposition] Research residency of 0.30 90.00 HEE
Tony and Wendi Thomas to determine whether

they are liable for California or Nevada capital

gains tax consequence; review attorney notes.

[Asset Disposition] Revise draft order on 0.20 60.00 HEE
motion to sell to include tax consequence from
sale of emerald.

[Asset Disposition] Draft email to Wayne 0.20 60.00 HEE
Silver requesting approval of revised order on
Invoice #:

Jul-09-14

motion to sell including set aside for tax
consequence.

[Case Administration] Review notice of
continued motion for 2004 examination of
PMK at Sarasota Vault; filed today by Tim
Lukas. |

[Asset Disposition] Review emails from
Wayne Silver re questions on capital gains
calculations and set aside into ARS trust
account; draft reply emails re same.

[Asset Disposition] T/c with Wayne Silver to
discuss set aside and revisions to order on sale
motion.

[Asset Disposition] Revise sale order
consistent with discussed revisions with
Wayne Silver; PDF; Draft email to Wayne
Silver requesting approval of modified sale
order.

[Asset Disposition] Review reply email from
Wayne Silver re approval of sale order and
faxing signature shortly; Draft email to DLG
requesting keep eye out for fax and lodge order
upon receipt.

[Asset Disposition] Review emails from Linda
Bowser re changes to order; Draft reply email
re same; review email from Linda requesting
lodging of order; draft email to Linda re Order
has been lodged.

[Asset Disposition] Review Executed Purchase
and Sale Agreement; note deadlines that have
already expired and other changes to be made;
draft Addendum to PSA;

[Asset Disposition] Draft email to Tony
Thomas. with Addendum to PSA attached for
his review, approval and signature as well as
signature of David Clarke; attach PSA for
convenience.

[Asset Disposition] Draft email to Tony
Thomas re lodged order on motion to sell;

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explain changes to order including set aside
into law offices of ARS trust account and
remainder to account of his choosing; attached
lodged order for his review.

[Asset Disposition] Review notes; review
docket; mtg with DLG re docket entries
required to clean up docket; request filing of
notice of withdrawal of documents mark
which documents to be provided in notice;
discuss same with DLG.

{Asset Disposition] Review notice of
withdrawal of motion to sell, ex parte motion
to seal and declaration of Thomas; approve;
give to DLG to file.

[Asset Disposition] Review email from Tim
Lukas re sale of emerald and clarfication on
sale price, set aside and visit to vault; Draft
reply email regarding same; clarify that sale
price has not changed and money to be set
aside pending further order of the Court.

[Asset Disposition] Review email from Tim
Lukas requesting information on notices of
withdrawal filed, visit to valut and whether
Tony will unlock the same and update on sale;
draft reply email re all.

[Case Administration] Call Tony Thomas leave
detailed message re update on sale and
schedulding meeting to go over complaint for
amended answer.

[Asset Disposition] Review further email from
Linda Bowser re trashing order on sale.

{Asset Disposition] T/c with Juma at Judge
Beesley's chambers discussing sale order and
trashing; how to resolve.

[Asset Disposition] T/c with Juma Oster,
Judge Beesley's law clerk, re judge approve
order; re lodge; mtg with DLG requesting
same.

[Asset Disposition] T/c with Tony Thomas

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Jul-11-14

Jul-14-14

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requesting information on order on motion to
sell requesting order to be filed under seal.

[Asset Disposition] Call Linda Duffy to
discuss filing order underseal and holding

order off docket until motion to seal can be
filed.

[Asset Disposition] Discuss emails and sale
with Holly E. Estes, Esq.

[Asset Disposition] Review email from Tony
Thomas re buyer issues and request for action;
review email from Buyer re same; Mtg with
ARS to discuss Thomas email.

[Asset Disposition] T/c with Judge Beesley's
law clerk re trashing order a motion to sell;
will file motion to file under seal and re lodge.

[Asset Disposition] Draft reply email to Tony
Thomas re request for withdrawal of order on
sale motion; discussion on addendum to psa

and upset purchaser; send to ARS for review.

[Asset Disposition] Revise email to Tony
Thomas with ARS comments regarding sale
order on emerald and addendum to purchase
and sale agreement;send.

[Asset Disposition] Review draft order on
motion to seal; review notes from T/c with
Tony Thomas and email from Tony re sale
order; Redact sale order; Scan redacted version
and version to submit to court under seal; draft
ex parte motion to file order on motion to sell
under seal; draft order on ex parte motion to
file order on motion to sell under seal; file ex
parte motion to file motion to sell under seal;
lodge order on ex parte motion to file order on
motion to sell under seal; lodge redacted order
on motion to sell; Mtg with RMB request she
submit unredacted version of order to court to
review under seal.

[Asset Disposition] T/c with Tony Thomas re
scheduling meeting to discuss emails and sale;
schedule the same.

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Jul-15-14

Jul-16-14

[Case Administration] T/c with Tim Lukas re
opposition to OUST motion to dismiss and
motion to convert case.

[Case Administration] t/c with Bill Cossitt re
continuing hearings on OUST motions to
convert and designate case.

[Case Administration] Call Linda Bowser and
Linda Duffy request new hearing date about
thirty days out for continued hearings on
OUST motions L/m.

[Case Administration] Draft stipuation to
continue hearing on OUST's motion to convert
case to chapter 7.

[Case Administration] Draft stipulation to
continue hearing on OUST's motion to
designate case small business case.

[Case Administration] T/c with Linda Bowser
re new hearing date on OUST's Motion to
Designate Case and OUST's motion to convert
case.

[Case Administration] Finalize stipulations to
continue hearings on OUST's motion to

designate case and OUST's motion to convert
by adding continued to hearing date and time.

[Case Administration] Review email from Bill
Cossitt re attached signatures on stipulations to
continue hearings; MTG with RMB requesting
filing stipulations and creating and lodging
orders thereon.

[Asset Disposition] Review email from Tim
Lukas requsting up date on sale; draft reply
email re same.

[Asset Disposition] Draft email to Tony
Thomas requesting information on sale of
emerald; status.

[Case Administration] Draft order approving
stipulation to continue hearing on US
TRustee's motion to designate case as small
business.

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[Case Administration] Draft order approving
stipulation to continue hearing on US Trustee's
motion to convert case to chapter 7.

[Case Administration] Review June clinet
billing statement; mark corrections to be made.

[Case Administration] Review email from
Joseph Went re request for hearing on
shortened time to drill lock on Sarasota vault
storing emerald; draft reply stating do not
agree to shortened time and believe the motion
is premature.

[Case Administration] Draft email to Tony
Thomas requesting information as to whether
he will be available to take a trip to Florida on
August 12 to open vault for 2004 PMK
examination.

[Asset Disposition] Draft email to Tony
Thomas requesting update on sale; draft email
to Tony Thomas requesting status update and
reminder of upcoming status hearing on sale of
emerald; request update and status report by
Friday July 18, 2014.

[Case Administration] Draft certificate of
service for stipulation to continue hearings on
US Trustee's objections to debtor's claims of
exemptions and US Trustee's motion to
designate case as small! business case.

[Asset Disposition] Strategize with Holly E.
Estes, Esq. re: sale.

[Asset Disposition] Draft follow up email to
Tony Thomas requesting status update for
scheduled status hearing on motion to sell the
emerald.

[Asset Disposition] Mtg with ARS to discuss
status hearing on sale today; draft email to
Tony Thomas re risk of trustee; need status
update; Call Tony to request update and report
possible trustee if no progress to report; L/M
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Jul-22-14

Jul-23-14

[Asset Disposition] Prepare for and attend
status hearing on motion to sell; give court
status report; discuss changes to be made to
order; continue hearing ten days.

[Asset Disposition] Revise order on motion to
sell consistent with the Judge's request in open
court at the status hearing today.

[Asset Disposition] Draft email to Wayne
Silver requesting reivew and sign revised order
on motion to sell. attach same for review.

[Case Administration] Organize attny notes
from hearings on motion to sell.; [Asset
Disposition]

[Asset Disposition] Review reply email from
Wayne Silver re signed revised proposed order
on motion to sell; Scan and save; Lodge order
with court; Call Linda Bowser to inform her
that new order should be in her inbox for judge
to review and sign.

[Asset Disposition] Draft email to Tony
Thomas explaining what occurred at continued
hearing today and informing him of continued
hearing date on motion to sell.

[Case Administration] Draft email to RMB
requesting to find correspondce to vault re
emerald and further order of the court.

[Asset Disposition] Review email from Tony
Thomas re sale of emerald; buyer traveling last
week; to hear this week on when purchase to
close; draft reply re same.

[Case Administration] Draft notice of entry of
order approving stipulation to continue hearing
on US Trustee's Motion To Designate Case As
Small Business.

{Case Administration] Draft notice of entry of
order approving stipulation to continue hearing
on US Trustee's motion to convert case to
chapter 7.

[Case Administration] Review motion to

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Jul-24-14

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compel production of key or drill out locks of
vault.

[Case Administration] Draft email to Tony
Thomas with Motion to compel production of
key or drill out of locks; order granting
shortened time on motion and notice of
deposition of PMK of Valut; draft email asking
for Tony's availablity to attend PMK
deposition and provide key to open valut.

[Case Administration] Review email from
Tony Thomas requesting that I oppose motion
to drill locks on vault; draft reply email
seeking clarification for opposition brief.

[Case Administration] Review email from
Tony Thomas re opposition to motion to open
vault filed by John Beach; request Tony send
the photos of the emerald.

[Case Administration] T/c with Jim Leibert at
Sarasota Vault re emerald and up coming visit
from John Beach.

[Case Administration] Draft email to Jim
Leiberman at Sarasota Vault re emerald cannot
be removed without further signed order from
the bankruptcy court; if removal requsted
contact me asap; request confirm receipt of
email.

[Asset Disposition] Mtg with ARS re Tony
Thomas emails re oppose visit to vault and
drilling of locks; discuss same.

[Case Administration] Draft notice of entry of
order approving motion to sel! assets free and
clear of liens.

[Case Administration] Review email from
Tony Thomas re issues with John Beach's visit
to vault.

[Case Administration] Review motion to

compel production of key or drilling of locks
at Sarasota Vault; review Ex Parte Motion for
2004 exam of PMK of Sarasota Vault; review

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Jul-28-14

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Jul-30-14

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order thereon; draft opposition to motion to
compel and motion to reconsider order
granting 2004 examination of PMK Sarasota
Vault; research avoidable preferences; research
reconsideration of granted order; review draft;
make changes; PDF; file.

[Business Operations] Review May 2014
monthly operating report, redact confidential
information and finalize.

[Business Operations] Review June 2014
monthly operating report, redact confidential
information and finalize.

[Case Administration] Draft certificate of
service for opposition to motion to compel
production of required key or authorization to
drill out vault lock.

[Case Administration] Review reply and
declaration of Tim Lukas filed in support of
motion to drill vault locks.

[Case Administration] Call Tony Thomas and
send him an email to inform him that I will be
sending declaration in support of opposition to
drill locks that will have to be signed and filed
today.

[Case Administration] Review filed opposition
to drill vault locks; outline declaration of Tony
Thomas to be filed in support thereof; give to
DLG to make declaration.

{Case Administration] Review draft
declaration of Tony Thomas prepared by DLG;
make changes to same; PDF; draft email to
Tony Thomas requesting review, sign and
return declaration today to file with court.

[Case Administration] Prepare Declaration of
Anthony Thomas in Support of Opposition to
Motion to Compel for attorney review.

{Case Administration] Review email from
Anthony Thomas with attached signed
declaration in support of opposition to

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Jul-31-14

Aug-04-14

motion to compel key or drill locks; Print Dec
and cause DLG to file.

[Case Administration] Review all pleadings
and filed declarations in support of motion to
compel production of key or drill vault lock;
make notes for hearing; attend hearing.

[Case Administration] Review hearing notes;
draft email to Tony Thomas re affirmative
actions to be taken immediately pursuant to
court's order; outline further order of the court
and ruling from today's hearing.

[Case Administration] Draft followup email to
Tony Thomas requesting delivery of key to my
office not later than Friday August 1, 2014.

[Case Administration] Call Tony Thomas to
make sure he is aware that Key to vault must
be delivered to my office not later than Friday
August 1; try to leave VM but mailbox full.

[Case Administration] Review email from Tim
Lukas with attached proposed order on motion
to compel production of vault key; print order;
mark changes; draft reply email to Tim Lukas
requesting word version of proposed order ;
Receive reply email from Lukas with word
version of order attached; save order; make
redline proposed changes; save; draft reply
email to Tim with redline proposed changes to
order attached for his review and approval.

[Case Administration] Review email from Tim
Lukas re accpts my changes and will finalize
and lodge order.

[Asset Disposition] Draft email to Tony
Thomas outlining the Court's concerns at
yesterday's hearing; expired PSA; and request
for sale status update.

[Case Administration] Mtg with RMB to
request if key was dropped off over weekend;
Mtg with ARS re key to vault not dropped off;
discuss next steps.

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[Case Administration] Organize case emails.

[Case Administration] Review past emails sent
to Tony Thomas on delivering vault key to our
office by friday August 1, 2014; draft email to
Tony Thomas re we have not received key.
must make arrangements asap. request
confirmation of same.

[Case Administration] Rview email from
Wayne Silver re status conference in adversary
proceeding on 8.26; request update on sale.

[Case Administration] Draft email to Tony
Thomas re email from Wayne Silver re
upcoming status hearing in Kenmark v.
Thomas and request update on sale.

[Case Administration] Review phone message
from Tim Lukas; Call Tony Thomas and try to
leave message re please deliver vault key to
our office VM full.

[Case Administration] Draft email to Tony
Thomas re received a phone message from
Tim Lukas calling re status of vault key;
request information on when key can be
delivered and request delivery asap.

[Case Administration] T/c with Tim Lukas re
turnover of vault key; visit to florida; request
information on attorney and expert to be
present at vault emerald inspection.

[Case Administration] Draft email to Wendi
Thomas; copy ARS and Tony Thomas;
requesting information on Tony Thomas and
request that he contact our office asap.

[Asset Disposition] Draft reply email to Wayne
Silver re Tony out of cell phone coverage
working in Elko no update on sale at this time.

[Case Administration] Review email from
Tony Thomas re John Beach granted 30 day
extension on inspection of emerald; Draft reply
email to Tony Thomas re same.

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[Case Administration] Review email from Tim 0.40 120.00 HEE
Lukas re strange letter from Tony Thomas to

John Beach; same attached; Review letter and

email from Tim; Discuss with ARS.

[Case Administration] Draft reply email to Tim 0.20 60.00 HEE
Lukas re letter from Tony Thomas to John

Beach; set up meeting with Lukas in advance

of continued sale hearing today to discuss

letter from Koyo.

[Case Administration] Draft email to Tony 0.30 90.00 HEE
Thomas; include letter from Koyo re sale and

Beach intended vist to vault; note concerns

about letter; note concerns about continued

hearing on motion to sell today.

[Case Administration] Review email from 0.20 60.00 HEE
Wendi Thomas re court's order that she and

Anthony appear at hearing on motion to

appoint chapter 11 trustee; request for

information and clarfication on John Beach

visit to vault.

[Case Administration] Draft reply email to 0.20 60.00 HEE
Wendi Thomas re request for further

information on court's request that she and

tony appear at hearing on motion to appoint

chapter 11 trustee and provide clarification that

John Beach has not been to the vault.

[Case Administration] Review email from 0.20 60.00 HEE
Wendi Thomas re court's requested appearance

at hearing on motion to appoint chapter 11

trustee; draft reply email re what I stated in

court today and that court is requiring Wendi,

as well as Tony to appear.

[Case Administration] Organize case emails. 0.20 60.00 HEE

[Asset Disposition] Mtg with ARS to discuss 0.30 90.00 HEE
continued hearing today on sale of emerald.

[Asset Disposition] Review email from Tony 0.20 60.00 HEE
Thomas re will have status by Friday on sale.

[Asset Disposition] Attend continued hearing 1.00 300.00 HEE
on motion to sell.
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Aug-13-14

Aug-14-14

[Asset Disposition] Draft email to Tim Lukas
following up after today's hearing re who will
draft orders of the court and scheduled hearing
on OST for motion to appoint chapter 11
trustee.

[Asset Disposition] Draft email to Tony and
Wendi Thomas re Court ordered personal
appearance at hearing on motion to appoint
chapter 11 trustee; overview of continued
hearing on motion to sell.

[Case Administration] Review email from
Linda Bowser re Lukas' filing motion to
appoint chapter 11 trustee; draft email to Tim
Lukas re same; review reply email from Tim
Lukas; draft reply to Linda Bowser re same.

{Asset Disposition] Review proposed order
from Tim Lukas from status hearing on sale of
emerald; safeguarding emerald and granting
ost on motion to appoint chapter 11 trustee;
mark proposed changs; draft email to Tim
Lukas requesting word version of proposed
order so that I may mark my proposed
changes.

[Asset Disposition] Review email from Cyndy
Arnold with word version of proposed order
from status hearing on sale attached; save
proposed order; mark redline changes; draft
reply email to Tim Lukas and Bill Cossitt with
my proposed redline order attached for their
review and approval.

[Case Administration] Review July bill; mark
change to be made.

[Asset Disposition] Review emails from
Cyndy Arnold from Tim Lukas' office re few
typos and pagination errors corrected on order
re status hearing on sale and granting of
shortened time on motion to appoint chapter
11 trustee; Review email from Bill Cossitt re
he approves of my form of order.

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[Case Administration] Review draft letter
drafted by RMB re must appear at hearing on
motion to appoint chapter 11 trustee and notice
of what occured at status hearing to be mailed
to clients; cause letter to be made final; sign
final draft for mailing ; discuss mailing with
RMB>

[Case Administration] Review email from
ARS to Wendi and Tony Thomas re must hear
from you by Monday need case update.

[Case Administration] Review reply email
from Wendi Thomas re Tony will call with
case status update this weekend.

[Case Administration] Draft email to ARS re
outline of issues that need to be discussed with
Tony Thomas when he calls this weekend.
Attach motion to appoint chapter 11 trustee.

[Case Administration] Review John Beach's
motion to appoint chapter 11 trustee; review
declaration of John Beech filed in support.

[Case Administration] Review email from
Tony Thomas re reason for limited
communication.

[Case Administration] Draft reply email to
Tony Thomas re Alan provided his cell phone
number for an after hours call. Attach email
for reference.

[Case Administration] Review email from
Tony Thomas re request conference call today
at 10 am update on conversation with buyer.

[Case Administration] Draft email to Tony
Thomas re waiting for his call in my office;
confirm you will call.

[Case Administration] HEE and ARS call Tony
Thomas per request for conference call today
at 10 am; 1I/m.

[Case Administration] ARS HEE T/c with
Tony Thomas re turnover of key to vault,

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update on sale, response to motion to appoint
chapter 11 trustee.

[Case Administration] ARS HEE T/c with
Tony Thomas re we will oppose motion to
appoint chapter 11 trustee, but will be filing
motion to withdraw as counsel outline
declaration of Tony Thomas in support of
opposition to motion to appoint chapter 11
trustee; discuss what to include.

[Case Administration] T/e with Tony Thomas
re discuss prior call today; discuss further facts
to include in declaration; discuss texts, emails
and conversations with Beach.

[Case Administration] Send message to Tony
Thomas for him to send all Beach texts
relevant for declaration in support of
opposition to motion to appoint chapter 11
trustee.

[Case Administration] T/c with Tony Thomas
re received my message and confirming my
receipt of his emails with Beach; discuss only
received one; Tony to send all individually.

[Case Administration] Draft email to Tony
Thomas confirming receipt of 9 emails.

[Case Administration] Draft email to RMB
requesting print and organize emails and
attachments sent by Thomas for his declaration
in support of opposition to appoint chapter 11
trustee.

[Case Administration] T/c with Tony Thomas
re sent messages on correspondence with
Beach; discuss time and date stamps; discuss
most recent correspondence received from
Beach today.

[Case Administration] Review DLG draft
motion to withdrawal as counsel, make
changes; draft email to ARS requesting review
and approval of motion to withdrawal; Review
DLG draft motion for OST; AIS; OST and
declaration of ARS in support of motion; make

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Invoice #:

Aug-19-14

changes to all; draft email to Cossitt, Tirre,
Wendi and Tony Thomas, Wayne Silver, Tim
Lukas requesting approval to hear motion on
shortened time; review ARS comments on
proposed changes to motion to withdrawal;
make changes.

[Case Administration] Research and draft legal
standard for opposition to appoint chapter 11
trustee; review notes, texts and emails sent by
Tony Thomas, draft declaration of Tony
Thomas in support of opposition to motion to
appoint chapter 11 trustee; draft email to Tony
and Wendi Thomas requesting review and
clarficiation on declaration of Tony Thomas
and review of opposition; once facts confirmed
can apply facts to law. Attach PDF opposition
and declaration for review.

[Case Administration] Draft email to Tony
Thomas re need comments on draft declaration
and opposition to motion to appoint chapter 11
trustee sent last night. Request exhibits he
requested be included in Declaration.

[Case Administration] review motion to
appoint chapter 11 trustee and declaration of
beach; Draft opposition to motion to appoint
chapter 11 trustee; update declaration of Tony
Thomas; draft email to Tony Thomas for
review and approval of declaration and
opposition requesting exhibits 'A' and 'B'.

[Case Administration] T/c with Tony Thomas
re Declaration and opposition to motion to
appoint chapter 11 trustee.

[Case Administration] Review email from
Wayne Silver re filed joinder to motion to
appoint chapter 11 trustee.

[Case Administration] Draft email to Bill
Cossit, Wayne Silver, Kevin Darby and Tim
Lukas re courtesy copy of filed motion to
withdraw.

[Case Administration] Review email from

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Case 14-50331-gs Doc Page Eniered 10/07/14 15:16:08 Page 45 F230, 2014

Invoice #: eptem

Tony Thomas with attached letter from
purchaser and signed thomas declaration.

[Case Administration] T/c with Tony asking if 0.20 60.00 HEE
I had received his email; discuss what was
received and if I needed anything else.

[Case Administration] Print and review 0.30 90.00 HEE
attachments to Thomas email; review letter

from purcahser; redact; Print signed

declaration of Tony Thomas.

[Case Administration] Gather exhibits for 0.20 60.00 HEE
Thomas Declaration in support of opposition

to motion to appoint chapter 11 trustee; Mtg

with RMB re scaning same and filing redacted

version of letter from purchaser.

[Case Administration] Draft email to Tony 0.20 60.00 HEE
Thomas re letter from purchaser and meaning

of paragraph; reqest that Tony bring any

provided proof of funds to court on Friday.

[Case Administration] T/c with Tony Thomas 0.20 60.00 HEE
re purchaser proof of ability to perform.

[Case Administration] Review Kenmark 0.20 60.00 HEE
joinder to motion to appoint chapter 11 trustee.

[Case Administration] Review scanned 0.20 60.00 HEE
Declaration of Tony Thomas with exhibits in
support of opposition to motino to appoint

chapter 11 trustee; mark change to be made to
exhibits.

[Case Administration] Draft ex parte motion to 1.30 390.00 HEE
file EX A to Thomas Declaration under seal;

Draft order on ex parte motion to file under

seal;

[Case Administration] Gather docs to file in 0.40 120.00 HEE
AT case today; gather opposition; Declaration

to be rescanned; Ex Parte motion to file under

sale; order on ex parte motion to file under

seal; unredacted EX A to be privided to court

for in camera review; Mtg with RMB re filing

opposition; rescanning declaration; lodging
Invoice #:

Aug-22-14

Aug-25-14

Sep-04-14

order on ex parte motion and getting copies of
in camera docs to court.

[Case Administration] T/c with Tim Lukas
requesting information on whether our law
firm has received proof of funds from
purchaser on sale of emerald transaction.

[Case Administration] Review email from
Wayne Silver requesting information on

current bank tear sheets and bank confirmation

and responsilbity letters; draft reply re same.

{Case Administration] Organize case emails.

[Case Administration] Prepare for hearing on
motion to withdraw as counsel.

[Case Administration] Attend hearing on
motion to withdraw as counsel.

[Case Administration] Review pleadings and
prepare for hearing on motion to appoint
chapter 11 trustee; outline notes for hearing.

[Case Administration] Attend hearing on
motion to appoint chapter 11 trustee.

[Case Administration] Review notes from
hearing; give notes to RMB to prepare orders
on motions to withdraw.

[Case Administration] Review email from Bill
Cossitt requesting contact information for
Tony and Wendi Thomas; draft reply with
same.

[Case Administration] Draft email to Bill

Cossitt to determine if he wanted to sign off on

orders for withdrawal as counsel; T/c with
Linda Bowser re same.

[Case Administration] Review RMB draft
order for ARS to withdraw as counsel; open
draft; make changes to order; Give to RMB to
finalize and Lodge.

[Case Administration] Organize case emails.

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Sep-09-14 [Case Administration] Review August billing
statement.

Sep-12-14 [Fee/Employment Applicants] Draft First And
Final Application By Attorney To Approve
Compensation. Review billings and task
categories, correcting as necessary and review
productivity report. Revise time entries to
correct/revise tasks.

Sep-24-14 [Fee/Employment Applicants] Continue
working on First and Final Fee Application.
Totals

DISBURSEMENTS

Mar-04-14 Filing Fee for Chapter 11

Mar-31-14 Photocopy Expense
Postage Expense

Apr-30-14 Photocopy Expense

May-31-14 Photocopy Expense

Jun-30-14 Photocopy Expense
Pacer Research

Jul-31-14 Photocopy Expense
Reno Carson Messenger Service

Aug-31-14 Photocopy Expense
Totals

Total Fee & Disbursements

Balance Now Due

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Invoice #: eptember 30, 2014
TRUST STATEMENT
Disbursements Receipts
Mar-04-14 Received From: AT Emerald, LLC 5,000.00
Payment on account.
Total Trust $0.00 $5,000.00

Trust Balance $5,000.00
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Exhibit “B”
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Sep/30/2014 Page l
ALL DATES
Categories/Fee Credit Lawyer Value % (Value) Hours (Hr) 3 (Hrs) Rate/Hr

 

Client: - AT Emerald, LLC
Matter: 1446-01-

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*** Billable ***

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*** Summary by Task Code ***

 

 

 

 

Value % (Value) Hours (Hr} % (Hrs) Rate/Hr
*** Billable ***
[Case Administration] 16188.00 39.60 60.10 43.02 269.35
{Asset Disposition] 21010.00 51.39 62.90 45.03 334.02
[Fee/Employment Applicants] 1257.00 3.07 7.70 5.51 163.25
{Business Operations] 208.00 0.51 1.60 1.15 130.00
[Claims Administration] 2220.00 5.43 7.40 5.30 300.00
Total Billable: 40883.00 100.00 139.70 100.00 292.65
*** Summary by Working Lawyer ***
Value % (Value) Hours (Hr) % (Hrs) Rate/Hr
ARS - Alan R. Smith, Esq. 8550.00 20.91 17.10 12,24 500.00
HEE - Holly Estes, Esq. 28350.00 69.34 94,50 67.64 300.00
DLG - Debra L. Goss 2475.00 6.05 16.50 11.81 150.00
RMB - Roanna M. Bonaldi 1508.00 3.69 11.60 8.30 130.00
Firm Total: 40883.00 100.00 139.70 100.00 292.65
REPORT SELECTIONS - Time Summary
Layout Template: All
Requested by: ADMIN
Finished: Tuesday, October 07, 2014 at 01:38:57 PM
Date Range: ALL DATES
Matters: 1446-01 Include Billed Entries: Yes
Clients: All Include Unbilled Entries: Yes
Major Clients: All Include Billable Tasks: Yes
Working Lawyer: All Include Write Up/Down Tasks: Yes
Responsible Lawyer: All Include No Charge Tasks: Yes
Client Intro Lawyer: All Include Nonbillable Tasks: Yes
Matter Intro Lawyer: All
Assigned Lawyer: All Shown by: Task Code
Type of Law: All Sorted by Lawyer: No
Select From: Active, Inactive, Archived Matters
Totals Only: No Time/Fee: Time Entry Only

Ver: 12.0 SP3

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Exhibit “C”
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